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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA

VISION WARRIORS CHURCH,            )
INC.,                              )
                                   )
      Plaintiff                    )
                                   )
                                   )
vs.                                )
                                   ) CIVIL ACTION 1:19-cv-3205-(MHC)
CHEROKEE COUNTY,                   )
GEORGIA, and HARRY                 ) JURY DEMAND
JOHNSTON, STEVE WEST,              )
RAY GUNNIN, BENNY CARTER, )
and COREY RAGSDALE, both           )
individually and in their official )
capacities as members of the       )
CHEROKEE COUNTY BOARD )
OF COMMISSIONERS,                  )
                                   )
and                                )
                                   )
MICHAEL CHAPMAN, both              )
individually and in his official   )
capacity as Cherokee County        )
Zoning Manager                     )
                                   )
      Defendants.                  )



                    FIRST AMENDED COMPLAINT




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                             NATURE OF ACTION

      1.     Vision Warriors Church, Inc. is a faith-based nonprofit organization.

Plaintiff brings this action for declaratory and injunctive relief and also seeks

compensatory damages based on the Defendants’ deliberate and purposeful

deprivation of Plaintiff’s rights under the United States Constitution, the Fair

Housing Act, 42 U.S.C. § 3601 et seq. (“FHA”), the Americans With Disabilities

Act, 42 U.S.C. § 12132, et seq. (“ADA”), the Religious Land Use and

Institutionalized Persons Act of 2000, 42 U.S.C. § 2000cc, et seq. (“RLUIPA”), and

the Constitution of the State of Georgia.

                         JURISDICTION AND VENUE

      2.     This Court has jurisdiction over all federal claims in the Complaint

arising under the United States Constitution pursuant to 28 U.S.C. §§ 1331 and 1343,

42 U.S.C. 3601 et seq., and 42 U.S.C. 2000cc et seq., which confers original

jurisdiction on United States Courts in suits to redress the deprivation of rights,

privileges, and immunities, as stated herein. This Court has jurisdiction over the

request for declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202,

and 42 U.S.C. §§ 3615 and 12133, and Rule 57 of the Federal Rules of Civil

Procedure.




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      3.     This Court has jurisdiction over all state law claims in the Complaint

arising under the United States Constitution pursuant to 28 U.S.C. §§ 1367 and 1441,

which confers supplemental jurisdiction on United States Courts over all other

claims that are so related to claims in the action within such original jurisdiction that

they form part of the same case or controversy under Article III of the United States

Constitution.

      4.     Venue lies in this District pursuant to 28 U.S.C. § 1391. Each

Defendant and the Plaintiff are located in this District. All events giving rise to this

action occurred in this District.

                                      PARTIES

      5.     Plaintiff, Vision Warriors Church, Inc. (hereinafter “Vision Warriors”),

is a Georgia non-profit corporation with IRC Section 510(c)(3) recognition, and

operates as a faith-based ministry for men recovering from drug addiction.

      6.     Defendant, Cherokee County, is a municipal corporation, incorporated,

legal subdivision of the State of Georgia, created and existing by virtue of the

Constitution and laws of Georgia, and is empowered by the State to act through its

governing body, its officials, employees, and official bodies. The Defendant is a

recipient of federal funds.




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      7.     Defendant Harry Johnston is the Chairman of the Board of

Commissioners (hereinafter “Board”), and is responsible for the administration and

enforcement of the zoning code, and is sued individually and in his official capacity for

acts and omissions that occurred in connection with duties performed on behalf of the

County.

      8.     Defendant Steven West serves on the Board and is the Commissioner for

District 1 and is responsible for the administration and enforcement of the zoning code,

and is sued individually and in his official capacity for acts and omissions that occurred

in connection with duties performed on behalf of the County.

      9.     Defendant Ray Gunnin serves on the Board and is the Commissioner for

District 2 and is responsible for the administration and enforcement of the zoning code,

and is sued individually and in his official capacity for acts and omissions that occurred

in connection with duties performed on behalf of the County.

      10.    Defendant Benny Carter serves on the Board and is the Commissioner for

District 3 and is responsible for the administration and enforcement of the zoning code,

and is sued individually and in his official capacity for acts and omissions that occurred

in connection with duties performed on behalf of the County.




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      11.    Defendant Corey Ragsdale serves on the Board and is the Commissioner

for District 4 and is responsible for the administration and enforcement of the zoning

code, and is sued individually and in his official capacity for acts and omissions that

occurred in connection with duties performed on behalf of the County.

      12.    Defendant Michael Chapman serves as the Cherokee County Zoning

Administrator and is responsible for the administration and enforcement of the zoning

code, and is sued individually and in his official capacity for acts and omissions that

occurred in connection with duties performed on behalf of the County.

                            STATEMENT OF FACTS

      13.    Vision Warriors is a non-profit ministry that seeks to provide a faith-

based community for men recovering from addiction that focuses on accountability

and transparency in an effort to help men to be better Disciples of Christ, fathers,

husbands, leaders, and friends. In fulfillment of this mission, Vision Warriors

provides support services to men striving to overcome addiction through a

residential program, weekly services, and faith-based meetings.

      14.    Kirk Driskell is the founder of Vision Warriors and has been working

with men in recovery for more than twenty-four years.




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      15.    As Vision Warriors has explained to the County on numerous

occasions, Vision Warriors is neither a detox facility, nor a facility for court-ordered

residents.

      16.    Vision Warriors does not provide medical treatment on the Property for

drug and/or alcohol addiction.

      17.    Vision Warriors has been operating for more than seven (7) years to

help men break free from the destructive cycle of addiction. In that time, Vision

Warriors has hosted over 500 recovery meetings, gatherings and Bible studies and

has helped nearly 200 men find job placement and maintain nearly a 100%

employment rate.

      18.    Vision Warriors is certified by the Georgia Association for Recovery

Residents (GARR) as a National Alliance for Recovery Residence (NARR) Level 2

recovery residence. GARR is a program that seeks “to create, monitor, evaluate and

improve standards and measures of quality for recovery residences in Georgia.”

GARR is committed to establishing quality standards to provide the most effective

services and recovery care to meet the expanding needs its members.

      19.    NARR Level 2 recovery residences, often called sober homes or sober

living homes, are alcohol and drug free recovery housing that use house standards,




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rules and peer accountability to maintain safe, healthy, and structured living

environments.

      20.    Vision Warriors and GARR affirm the necessity of a continuum of care

to adequately address the total needs of those struggling to overcome addiction for

the long-term and maintain sobriety. For many, a short-term or long-term residential

program is an integral and essential part of that care.

      21.    Most of the residents and members receiving help from Vision Warriors

come directly from short or long-term treatment facilities. Long-term sobriety is

greatly enhanced when coupled with after care and the type of communal living

offered by Vision Warriors.

      22.    On December 13, 2017, Vision Warriors purchased approximately

6.491 acres, identified in the records of Defendant Cherokee County as Tax Map

02N04, Parcels 314 & 318, commonly known as 1709 Old Country Place,

Woodstock, Georgia 30188 (“the Property”). The purchase price of the Property was

for $750,000.00.

      23.    Approximately 5.348 acres of the Property is zoned to the R-80

(Residential) zoning district and the northernmost 1.143 acres of the Property is

zoned to the R-20 (Residential) zoning district.




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      24.   The Property, previously owned by Tom and Jewel Young, was used

as a church and a residence and retreat for missionaries and families in need, known

as Happy Acres Mission Transit Center (“Happy Acres”), from 1982 until the

Property was acquired by Vision Warriors in December of 2017.

      25.   Happy Acres utilized and operated on the Property the following with

the Defendant County’s knowledge and approval: (1) the Youngs’ personal

residence which also consisted of an efficiency apartment on the lower level, (2) a

worship/assembly hall, (3) dormitories with kitchen facilities, (4) an auto repair

shop, (5) a woodworking shop and warehouse, and (6) a storage building.

      26.   The Youngs, through Happy Acres ministry, housed missionaries in

their personal residence. The worship/assembly hall and dormitory were also used

to house missionaries and their families and as a place for classes and worship. The

auto repair shop was used by Mr. Young to make vehicle repairs, and to buy and sell

vehicles to generate revenue to support the Happy Acres ministry. The warehouse

building was used to store donated goods, to ship materials, and to manufacture

wood crates – additional means for generating revenue to support the Happy Acres

ministry.




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         27.   As Jewel Young attests in an affidavit furnished to Defendant County,

the number of missionaries who stayed at Happy Acres at any given time varied over

the years. On average, four families stayed on the Property at a time. Some months,

however, Happy Acres hosted up to six families on the Property.

         28.   Happy Acres also hosted retreats and conferences, during which

anywhere between thirty and fifty people would reside on the Property.

         29.   The church and dormitory building contains seven rooms, in addition

to a bunk room and three efficiency apartments.

         30.   Happy Acres did not charge rent to the missionaries who stayed on the

Property, but did request donations from them and others to help defray operating

costs.

         31.   In early 2017, and in preparation for selling the Property to an

organization with a similar use in mind, Jewel Young and her son, Tori Young,

sought zoning confirmation from Defendant County’s then-Zoning Administrator,

Vicki Taylor Lee, that a similar use by the purchaser of the Property would be

permitted.




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      32.   On or about February 6, 2017, Zoning Administrator Lee issued a

“Certification of Zoning for property located at 1709 Old Country Place,

Woodstock, GA PL2017-050,” which provided, in part, as follows:

              There appears to be four (4) buildings on the parcel, a primary
              home, a detached garage, a dormitory and a chapel. As a legal
              non-conforming use, you may continue to house guests in the
              dormitory for short periods of time. You cannot expand the use
              to something different or increase the number of people served.

      33.   Approximately one month later, on or about March 8, 2017, Zoning

Administrator Lee issued a second, more detailed zoning certification entitled,

“Certification of Zoning for property located at 1709 Old Country Place,

Woodstock, GA PL2017-050,” and acknowledged the previously existing

warehouse and attached a list of temporary shelters and uses classified under NAICS

Code No. 624221.

      34.   On July 19, 2017, Tori Young (son of Jewel and Tom Young) and Kirk

Driskell of Vision Warriors met with Zoning Administrator Lee and one other

official or employee of Defendant County to discuss Vision Warriors’ proposed

acquisition of the Property and to confirm, once again, that its proposed use as a

temporary home for men recovering from drug and alcohol addiction would be




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permitted. During this meeting, Zoning Administrator Lee watched the videos

available on Vision Warriors’ website.

      35.    Following their July 19, 2017 meeting, on July 31, 2017 and August 4,

2017, Tori Young exchanged emails with Zoning Administrator Lee to obtain

written confirmation that Vision Warriors’ intended use – i.e. to house men (not

families and/or only women) recovering from drug and alcohol addiction – is

consistent with Zoning Administrator Lee’s earlier Certification of Zoning letter

issued on March 8, 2017, approving a non-conforming use.

      36.    In this email, Tori Young specifically noted that Vision Warriors is

“geared around men and this (the NAICS Codes referenced in the March 8, 2017

letter) references only women related use. Could it be more specific to Vision

Warriors?”

      37.    To this, Administrator Lee responded, “It also says homeless shelters

without gender. I am the interpreter of land use and I assure you this meets Vision

Warriors use.”

      38.    On August 4, 2017, Zoning Administrator Lee issue a third zoning

certification for the Property.




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      39.    Section 14.1 of the Zoning Ordinance provides that, “[e]xcept as

otherwise provided in these regulations the Zoning Administrator shall administer,

interpret and enforce this Ordinance.”

      40.    On November 22, 2017, Kirk Driskell contacted Administrator Lee

directly to inform her that Vision Warriors would be purchasing the Property and

inquired as to what would need to be done by Vision Warriors to obtain a business

license.

      41.    On November 22, 2017, Administrator Lee responded to Mr. Driskell’s

email and informed him he is “good to go.” She explained that “[w]hat will happen

first is a Tenant Occupancy Change were [sic] the Fire Marshall and Building

Inspector come out to verify the required life-safety items.” She concluded her email

with “[b]est wishes for your endeavor.”

      42.    When each of these certifications were issued to Happy Acres and

Vision Warriors, Administrator Lee had authority to interpret the Cherokee County

Zoning Ordinance.

      43.    Upon information and belief, other Defendant County officials and

employees were fully aware of Administrator Lee’s determination and did not take




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any action to challenge this determination a until it became aware of the type of

people Vision Warriors provides assistance to.

      44.      Based on the assurances provided by Defendant County’s Zoning

Administrator and the Certification of Zoning Approval, Vision Warriors purchased

the Property on December 13, 2017.

      45.      Vision Warriors immediately began using the Property in the same

manner as Happy Acres and for which building permits and zoning approval had

lawfully been obtained as follows:

            • Dormitory/Sanctuary: Used to house residents, prepare and provide
              meals to residents and supporters and host regular religious services and
              faith-based meetings
            • Car Shop: A free-standing building and fully operational car repair
              facility which provides jobs and funding to support the ministry
            • Woodshop: Used to create products, hone skills and provide revenue to
              support the ministry.
            • Warehouse/Logistics Center: Used to accept, store and distribute
              donations provided to the ministry.
            • Front Parcel Home: Used by Ms. Young as a personal residence and to
              host members and staff.


      46.      Following Vision Warriors’ acquisition of the Property, Mrs. Jewel

Young continued to reside on the Property as she had for more than forty years prior.




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      47.    Vision Warriors currently hosts weekly services on the Property during

which time anywhere from 40-80 people in the community gather to engage in praise

and worship, prayer and bible study.

      48.    While notice of these weekly services are not published or advertised

to the public, the services are open to any member of the community needing help

and/or wanting to provide support for the ministry and its members.

      49.    Vision Warriors houses between approximately twenty and thirty male

residents on the Property – all who are struggling to overcome drug addiction for the

long-term and all who desire to restore family relationships and their relationship

with the Lord.

      50.    Vision Warriors does not charge rent to its residents and resident

members are not required to sign a lease. It does, however, ask residents to contribute

$600 monthly to help the ministry offset all of its costs. A resident is not turned away

due to inability to pay.

      51.    Vision Warriors operates with the strong belief that requiring resident

members to contribute something toward room and board encourages a strong work

ethic and a sense of accomplishment. Financial stability is crucial to lasting recovery.




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      52.    All residents are required to adhere to house rules and guidelines

outlined in a membership agreement.

      53.    In addition to the residence and dormitory/sanctuary, Vision Warriors

utilizes the pre-existing car and wood shop to provide a vocational training ministry

for its residents which, in turn, sets its members up for success and provides

employment opportunities.

      54.    Every single activity on the Property is related to and operated with the

goal of helping members build confidence in their roles as men working for God and

to maintain individual financial stability.

      55.    Visions Warriors’ use of the Property is practically identical to that of

Happy Acres which was never challenged by the County during the decades it

operated. The only difference is the type of residents served by Vision Warriors –

i.e., disabled individuals struggling to overcome addition.

      56.    At the time Vision Warriors purchased the Property and learned that it

would need an occupancy permit, a dormitory was an “open use” in all residential

zoned areas – a use permitted by right without additional specialized requirements.

      57.    Pursuant to the NAICS Code 721310 – the code specifically cited in the

County’s Permitted Uses Table – dormitories and rooming and boarding houses are




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identified under the same category and are described as “establishments primarily

engaged in operating rooming and boarding houses and similar facilities . . . These

establishments provide temporary or longer-term accommodations, which, for the

period of occupancy, may serve as a principal residence. These establishments also

may provide complementary services, such as housekeeping, meals and laundry

services.”

      58.    In April 2018, Vision Warriors contacted Defendant County to obtain

a Business License to operate on the Property and was instructed that it only needed

to obtain a Tenant Occupancy Permit.

      59.    On April 20, 2018, Vision Warriors sought and Defendant County

issued a Tenant Occupancy Change Permit for the Property, and Vision Warriors

scheduled a date for inspection by the Defendant County’s Fire Marshal.

      60.    Following issuance of the Tenant Occupancy Change Permit and

scheduling of the Fire Marshal’s inspection, Kirk Driskell received a call from the

Fire Marshal.

      61.    During this phone call, the Fire Marshal quizzed Kirk Driskell about

Vision Warriors’ website, the organization’s mission, and the organization’s

facebook page and certain facebook posts made by supporters of the organization.




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These inquiries were entirely unrelated to, and unnecessary for, the Fire Marshal to

conduct an inspection of the Property.

      62.     During this call, the Fire Marshal also expressed cynicism regarding

Vision Warriors’ use of the Property and insisted that Defendant County’s Planner,

Margaret Stallings join the call to further inquire about the organization’s proposed

use of the Property.

      63.     Upon information and belief, this phone call and the conversation that

ensued constitutes a departure from normal practice and procedures of Defendant

County.

      64.     Following this phone call, and on the day the Fire Marshal was

scheduled to inspect the Property, the Fire Marshal abruptly canceled the inspection.

      65.     Upon information and belief, the Fire Marshall was instructed by

Defendant County’s Planning and Zoning Department not to move forward with the

inspection.

      66.     Following the events described above, approximately seven County

officials and/or employees showed up unannounced at the Property, including

Defendant County’s Fire Marshal, Fire Chief, Assistant Fire Chief and certain




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members of Defendant’s Planning and Zoning Department, and proceeded with an

inspection of the Property.

      67.    Despite the fact that the site visit had been coordinated in advance,

neither Kirk Driskell nor any staff or member of Vision Warriors received any

advance notice of this visit.

      68.    Notwithstanding the lack of notice for the visit, Vision Warriors

allowed Defendant County officials and/or employees to inspect the entire Property.

      69.    The only concerns raised by the Fire Marshal during this visit were the

height of the fire extinguishers in the dormitory building, and the need to clear boxes

out for an open walkway in the warehouse building.

      70.    In April 2018, Defendant County’s Board of Commissioners voted to

amend its Zoning Ordinance to remove dormitories as an “open use” in all residential

zoning districts and to limit dormitories by special use permit only in all residential

zoning districts.

      71.    A “special use” is permitted “upon compliance with Article 18.4

Special Use Permits of this Ordinance and the grant of a Special Use Permit by the

Board of Commissioners.”




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      72.    Upon information and belief, Defendants sought to amend the zoning

ordinance to remove dormitories as an “open use” in all residential areas following,

and in part due to, neighborhood opposition to Vision Warriors’ ministry on the

Property.

      73.    Prior to enactment of the amendment, Vision Warriors had been using

the Property with zoning approval by Defendant County for more than four months

and, thus, Vision Warriors’ use of the Property should be considered a legal non-

conforming use (i.e., “grandfathered use”) and be allowed to continue.

      74.    Section 13.3 of the Zoning Ordinance provides that “[t]he lawful use of

any building, structures, land or sign existing at the time of the enactment or

amendment of this Ordinance may be continued, even though such use does not

conform with the provisions of this Ordinance . . . .”

      75.    On or about April 24, 2018, Defendant County notified Vision Warriors

that a dormitory use may not be permitted as of right.

      76.    Thereafter, Vision Warriors met with Fire Marshal, Chad Arp, Planning

Director, Jeff Watkins and County Planner, Margaret Stallings, to discuss Vision

Warriors’ ministry and use of the Property. During the meeting, these County




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officials admitted to Vision Warriors that neighbors had expressed opposition

regarding the type of residents Vision Warriors ministers to.

      77.    On May 9, 2018, and at the request of Defendant County, Vision

Warriors provided a statement of its operations, as well as an ante litem notice.

      78.    On May 23, 2018, neighbors circulated an email and a petition to

neighbors with the subject line, “We all have a huge neighborhood problem!” The

email contained false information and unfounded concerns that Property values

would decrease and children would be unsafe because of Vision Warriors’ use of the

Property.

      79.    The email was circulated by Richard Jordan, a member of the Cherokee

Citizens for Community Preservation, and contained the County’s official seal on

the email giving the appearance that the communication was one sanctioned by the

County.

      80.    Shortly thereafter, on May 30, 2018, Vision Warriors was asked by the

Defendants, by and through counsel, to discount the false claims contained in Mr.

Jordan’s email.




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      81.     These same unfounded concerns have been expressed by neighbors on

numerous occasions to Defendants individually and at public hearings held by

Defendant County involving or relating to Vision Warriors’ zoning applications.

      82.     On June 2, 2018, Vision Warriors provided supplemental information

regarding its operations via email to Defendant County’s attorney.

      83.     On June 12, 2018, Defendants issued a letter via their counsel notifying

Vision Warriors that it was “engaging in an unpermitted use of the Property such

that the Tenant Occupancy Change Permit was issued in error.” The letter ordered

Vision Warriors that “offending uses must be discontinued.”

      84.     This letter also communicated the Defendants’ position that “the

principal use of the property is a temporary shelter, which is prohibited in residential

zoning districts. In addition, we have determined that the church is not being used

as a church as alleged.”

      85.     On July 11, 2018, Vision Warriors appealed Defendant County’s

determination referenced in the June 12, 2018 letter to the Zoning Board of Appeals

and to the Board of Commissioners. This administrative appeal is identified as

Cherokee County Appeal No. 18-10-0001A (the “Cherokee County Appeal No. 18-

10-0001A”).




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      86.    On or about July 11, 2018, and in the Memorandum in Support of

Vision Warriors’ appeal, Defendants were notified that Vision Warriors is an

organization entitled to protection under federal law, specifically the Fair Housing

Act and Americans With Disabilities Act.

      87.    On or about July 11, 2018, Defendants received fair warning that their

continued attempts to interfere with Vision Warriors’ previously approved use of the

Property violated Vision Warriors’ constitutional rights and constituted violations of

clearly established federal law.

      88.    Under the Zoning Ordinance, a family is defined as “[a]n individual, or

two or more persons related by blood, marriage, adoption or guardianship, or a group

of not more than four unrelated persons, occupying a single dwelling unit. . . . The

term ‘family’ does not include any organization or institutional group.”

      89.    On or about August 9, 2018, the Defendant County Zoning Manager,

Michael Chapman, affirmed and supplemented the Defendant County’s Board of

Commissioners’ prior determination of June 12, 2018.

      90.    On September 12, 2018, Vision Warriors attended a meeting with

Defendant County officials and employees regarding its intended use and the filing

of zoning and special use permit applications.




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      91.     On November 6, 2018, the Defendant County’s Board of

Commissioners held a work session to discuss Vision Warriors’ appeal of the Zoning

Administrator’s decision to revoke Vision Warriors’ zoning approval and tenant

occupancy change permit and, upon request by Vision Warriors, decided to continue

appeal proceedings until the two land use applications to be submitted by Vision

Warriors were submitted and decided.

      92.     On November 20, 2018, Vision Warriors submitted its two land use

applications in an attempt to propose and obtain a reasonable accommodation to the

County’s revocation of zoning approval and application of its newly amended

zoning ordinance to deny Vision Warriors zoning approval.

      93.     The first land use request was for a special use permit to allow a

dormitory and religious institution, which if approved would allow all of Vision

Warriors’ above-referenced uses of the Property without changing the underlying R-

20 & R-80 zoning categories.

      94.     The second land use request submitted by Vision Warriors was for

rezoning of the Property to the Office/Industrial District (OI) to allow for all of the

above uses.




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      95.    Prior to this hearing, Defendants were, once again, notified that their

actions in denying Vision Warriors’ application for a special use permit and/or in

the alternative, application for rezoning, would violate federal laws, including but

not limited to the FHA, ADA and RLUIPA.

      96.    On March 5, 2019, a public hearing was held by Defendant County’s

Planning Commission regarding Vision Warriors’ land use applications, as required

by the Cherokee County Zoning Ordinance.

      97.    At this hearing, the current Zoning Manager of the County, Michael

Chapman, presented information regarding the current zoning, surrounding uses,

land use compliance and economic use of the Property.

      98.    During his presentation, Mr. Chapman confirmed the Zoning

Ordinance’s descriptions of the R-80 and R-20 residentially-zoned areas in which

the Property is located.

      99.    Mr. Chapman confirmed that the existing roadways would

accommodate any traffic generated by Vision Warriors’ use of the Property.

      100. Mr. Chapman explained that the first parcel of the Property “is in the

suburban growth area and future land uses envisioned in this area include residential,

as well as semi-public and institutional uses.” [emphasis added].




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      101. Mr. Chapman explained that the second parcel is located in suburban

growth and suburban living and is compatible with both commercial and residential

development and that “future land uses in this character area are envisioned to be

residential, recreational and parks, as well as semi-public and institutional uses.”

[emphasis added].

      102. At this hearing, approximately eleven (11) people signed up to speak in

opposition to Vision Warriors’ zoning applications. Several neighbors speaking in

opposition again expressed unfounded concerns based solely upon the fact that

Vision Warriors houses men in recovery from drug and alcohol addiction.

      103. During this meeting, no evidence was presented to support that Vision

Warriors’ more than fifteen (15) months use of the Property had disturbed any

neighbors, created parking or traffic issues, and/ or was inconsistent with the

residential use of the neighborhood.

      104. The Defendant County’s Planning Commission specifically referenced

and acknowledged the letters, emails and correspondence of opposition it had

received from neighbors regarding Vision Warriors’ proposed uses of the Property.

      105. On March 5, 2019, all but two members of the Defendant County’s

Planning Commission voted to recommend denial of both land use applications.




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      106. Notably, the only two members of the Planning Commission to cast a

vote in favor of one of Plaintiff’s land use applications are the same two members

that accepted Plaintiff’s invitation to visit and tour the Property.

      107. On April 16, 2019, Vision Warriors’ applications for both a special use

permit and for rezoning were heard by Defendant County’s Board of

Commissioners.

      108. Prior the scheduled public meeting, Defendant County’s Board of

Commissioners were again warned that their actions in denying Vision Warriors’

application for a special use permit and/or in the alternative, application for rezoning,

would violate federal laws, including but not limited to the FHA, ADA and RLUIPA.

      109. On April 16, 2019, the Defendant County’s Board of Commissioners

voted unanimously to deny both of Vision Warriors’ land use applications.

      110. On July 16, 2019, the Defendant County’s Board of Commissioners

conducted a hearing on the administrative appeal (filed on July 11, 2018) and again

voted unanimously to deny all claims asserted by Vision Warriors, including without

limitation Vision Warriors’ assertion that its use of the Property is allowed and

protected as a legal conforming or nonconforming use, that Vision Warriors has a




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vested right in such use, and that Cherokee County is barred by the doctrine of

estoppel from prohibiting such use.

      111. Defendants’ conduct has frustrated the mission of Vision Warriors and

constitutes a threat of irreparable harm if Defendants are permitted to continue with

their discriminatory conduct against Plaintiff.

                                     COUNT I
                                  Fair Housing Act
                              (42 U.S.C. § 3604, et seq)

      112. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      113. The Fair Housing Act guarantees fair housing to individuals with

disabilities and makes it unlawful to “discriminate in the sale or rental, or to

otherwise make unavailable or deny, a dwelling to any buyer or renter because of a

handicap.” 42 U.S.C. § 3604(f)(1).

      114. Plaintiff constitutes a person with a handicap under the Fair Housing

Act, 42 U.S.C. § 3602(d), (h) and (i), and has suffered damages, economic loss, and

loss of civil rights as a result of Defendants’ conduct.

      115. Plaintiff’s use of the Property constitutes a “dwelling” within the

meaning of the Fair Housing Act, 42 U.S.C. § 3602(b).




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      116. The Defendants violated Plaintiff’s rights under the Fair Housing Act,

by refusing to allow Plaintiff’s continued use of the Property, and enforcing zoning

rules and policies in a discriminatory manner.

      117. The Defendants violated Plaintiff’s rights under the Fair Housing Act

by failing to make reasonable accommodations in the zoning code to afford the

Plaintiff an equal opportunity to use and enjoy the Property. In fact, the Defendants

specifically modified the Cherokee County Zoning Ordinance for the purpose of

denying Vision Warriors the ability to conduct its uses of the Property, including

without limitation, housing disabled persons of a protected class.

      118. The effect of Defendants’ actions is to deny zoning approval to Plaintiff

and deny needed housing to those receiving assistance and support from Plaintiff for

recovery from alcohol and drug addiction.

                                  COUNT II
                  Violation of Americans With Disabilities Act
                           (42 U.S.C. § 12102, et seq)

      119. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      120. The ADA requires that “no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the




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benefits of the services, programs, or activities of a public entity, or be subjected to

discrimination by such entity.” 42 U.S.C. § 12132.

      121. The Plaintiff is associated with and provides housing to people with

disabilities as defined in 42 U.S.C. § 12102(2) and is a covered entity.

      122. The Defendant Cherokee County is a public entity under 42 U.S.C.

§ 12131(1).

      123. 42 U.S.C. § 12202 provides: “[a] State shall not be immune under the

eleventh amendment to the Constitution of the United States from an action in [1]

Federal or State court of competent jurisdiction for a violation of this chapter. In any

action against a State for a violation of the requirements of this chapter, remedies

(including remedies both at law and in equity) are available for such a violation to

the same extent as such remedies are available for such a violation in an action

against any public or private entity other than a State.”

      124. The actions of the Defendants to revoke zoning approval, amend the

zoning ordinance to require Plaintiff to submit to a subjective land use process, and

then deny zoning approval to Plaintiff violates Plaintiff’s rights and those seeking

its assistance under the Americans With Disabilities Act, 42 U.S.C. §12132 et seq.

and the regulations promulgated thereunder by, among other ways:




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                a. Using land ordinances and methods of administering those

                   ordinances for the purpose of subjecting Vision Warriors to

                   discrimination on the basis of their handicap;

                b. denying housing and attempting to make housing unavailable to

                   those seeking assistance from Plaintiff because of their disability;

                c. denying Plaintiff and its residents an equal opportunity to participate

                   in the benefits of services, programs, or activities of a public entity.


                                 COUNT III
Violation of the Religious Land Use and Institutionalized Persons Act of 2000
                 "Substantial Burden on Religious Exercise"
                            (42 U.S.C. § 2000cc(a))

      125. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      126. The Defendants constitute a “government” pursuant to 42 U.S.C.

§ 2000cc-5(4)(A)(i),(ii).

      127. Vision Warriors constitutes a “religious assembly or institution”

pursuant to 42 U.S.C. § 2000cc(a)(1).

      128. “Religious exercise” is defined as “any exercise of religion, whether or

not compelled by, or central to, a system of religious belief” pursuant to 42 U.S.C. §




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2000cc-5(7)(A), and “the use, building or conversion of real property for the purpose

of religious exercise shall be considered to be religious exercise of the person or entity

that uses or intends to use the property for that purpose.” 42 U.S.C. §2000cc-5(7)(B).

      129. Defendants’ rescission of both zoning approval previously granted by

Defendant County’s Zoning Administrator and the tenant occupancy permit,

amendment of the zoning code to prohibit Vision Warriors’ use without special

permission, and subsequent denial of Plaintiff’s land use applications results in a

substantial burden on both Vision Warriors and its members’ religious exercise by

effectively shutting down Plaintiffs’ ministry.

      130. Defendants have deprived and continue to deprive Plaintiff of its right

to the free exercise of religion, as secured by the Religious Land Use and

Institutionalized Persons Act of 2000, by imposing and implementing land use

regulations that place a substantial burden on Plaintiff’s religious exercise without a

compelling governmental interest.

                                    COUNT IV
                    Violation of the United States Constitution
                    Equal Protection: Fourteenth Amendment
                                 (42 U.S.C. § 1983)




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      131. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      132. All of the acts of Defendants complained of in this First Amended

Complaint were performed under color of State law, ordinance, regulation, custom,

and/or usage, and were in violation of the rights, privileges and immunities secured

to Plaintiff by the Constitution of the United States and constitute a violation of the

provisions of 42 U.S.C. § 1983.

      133. The individual Defendants’ actions violated clearly established

statutory and constitutional rights of which a reasonable person would have known.

      134. Plaintiff informed Defendants of the clearly established law and of its

statutory and constitutional rights on several occasions.

      135. Defendants’ conduct in rescinding the zoning determination of its

Zoning Administrator only after Vision Warriors purchased the Property and began

operating its ministry and only after neighbors expressed unfounded concerns and

opposition regarding the group of people Vision Warriors would be ministering to

is unconstitutional and Defendants’ actions are exclusionary, arbitrary, capricious

and without any rational basis.




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       136. Defendants’ conduct in amending its zoning ordinance to exclude

Plaintiff’s use of the Property as a dormitory an “open use,” so that Plaintiff would

have to submit to a laborious and subjective land use process is unconstitutional,

exclusionary, arbitrary, capricious and without any rational basis.

       137. Defendants’ conduct in denying each of Plaintiff’s land use

applications is unconstitutional in that Defendants’ actions are exclusionary,

arbitrary, capricious and without any rational basis.

       138.   Defendants’ conduct in denying Cherokee County Appeal No. 18-10-

0001A, including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy

Permit, is unconstitutional in that Defendants’ actions are exclusionary, arbitrary,

capricious and without any rational basis and Defendants targeted Plaintiff because

of the residents and people they provide assistance to – i.e. people suffering from a

disability.

       139. The actions of Defendants discriminate between Plaintiff and other

similarly situated individuals and property owners, and have deprived and continue

to deprive Plaintiff of its right to equal protection of the laws, as secured by the

Fourteenth Amendment to the United States.




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                                     COUNT V
                    Violation of the United States Constitution
                      Due Process: Fourteenth Amendment
                                 (42 U.S.C. § 1983)

      140. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      141. All of the acts of Defendants complained of in this First Amended

Complaint were performed under color of State law, ordinance, regulation, custom,

and/or usage, and were in violation of the rights, privileges and immunities secured

to Plaintiff by the Constitution of the United States and violate the provisions of 42

U.S.C. § 1983.

      142. Defendants’ actions in denying Cherokee County Appeal No. 18-10-

0001A, including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy

Permit, were arbitrary, capricious, and without rational basis and constitute an abuse

of discretion. Such actions by Defendants are a violation of Plaintiff’s rights to due

process and violate the Fourteenth Amendment to the Constitution of the United

States, and are, therefore, void.




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      143. The actions of Defendants amount to a constitutional tort and lack a

substantial or rational relationship to the public health, safety, and welfare, and were

contrary to the requirements of well-established law.

Defendants’ have not articulated any standards or criteria or any objective factual

basis to support the denial of Cherokee County Appeal No. 18-10-0001A or the

continued rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit.

                                    COUNT VI
                    Violation of the United States Constitution
                     Taking: Fifth & Fourteenth Amendment
                                  (42 U.S.C. § 1983)

      144. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      145. Defendants’ actions in denying Cherokee County Appeal No. 18-10-

0001A, including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy

Permit, deprives Plaintiff of constitutionally guaranteed property rights without just

and adequate compensation and constitutes a violation of the rights and privileges

secured to Plaintiff under the Just Compensation Clause of the Fifth Amendment

and the Due Process Clause of the Fourteenth Amendment to the Constitution of the

United States.




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      146. Defendants have caused Plaintiff to expend substantial attorney’s fees,

expenses of litigation, and costs to vindicate Plaintiff’s rights protected under the

Fifth and Fourteenth Amendments to the Constitution of the United States and 42

U.S.C. § 1983 and 42 U.S.C. § 1988.

                        COUNT VII – MANDAMUS
      (Against Natural Person Defendants in their Individual and Official
                                 Capacities)
                             (O.C.G.A. § 9-6-20)

      147. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      148. The actions of the Defendants in denying the Plaintiff’s right to its use

of the Property to house men recovering from drug and alcohol addiction and in

denying Cherokee County Appeal No. 18-10-0001A, including the rescission and

refusal to reissue Plaintiff’s Tenant Occupancy Permit, were exercised outside the

scope of their respective constitutional authority.

      149. By denying Cherokee County Appeal No. 18-10-0001A, including the

rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit, Defendants

and Defendant have violated their duties owed to Plaintiff.




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      150. Plaintiff requests that this Court issue a writ of mandamus directing the

Defendants to recognize the Plaintiff’s use of the Property as a legal use and reissue

Plaintiff’s Tenant Occupancy Permit.

              COUNT VIII – DECLARATORY JUDGMENT
     (Against Natural Person Defendants in their Individual and Official
                                Capacities)
                             (O.C.G.A. § 9-4-2)

      151. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      152. The actions of the Defendants in denying the Plaintiff’s right to its use

of the Property to house men recovering from drug and alcohol addiction and in

denying Cherokee County Appeal No. 18-10-0001A, including the rescission and

refusal to reissue Plaintiff’s Tenant Occupancy Permit, were exercised outside the

scope of their respective constitutional authority.

      153. Plaintiff is entitled to a declaration from this Court that the Plaintiff’s

use of the Property is allowed and protected as a legal conforming or nonconforming

use, that the Plaintiff has a vested right in such use, and that Cherokee County is

barred by the doctrine of estoppel from prohibiting such use.




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      154. Plaintiff is entitled to a declaration from this Court that the actions of

the Defendants in denying Plaintiff’s use of the Property and Cherokee County

Appeal No. 18-10-0001A, including the rescission and refusal to reissue Plaintiff’s

Tenant Occupancy Permit, are invalid and unreasonable in light of the facts and

circumstances of this case, are unlawful, arbitrary and capricious, constitute a

manifest abuse of discretion, lack any rational basis and violate Plaintiff’s right to

due process under Article I, Section I, Paragraph I of the Constitution of the State of

Georgia of 1983, as amended, and the same are therefore void.

      155. Plaintiff is entitled to a declaration from this Court that the actions of

the Defendants in denying Plaintiff’s use of the Property and Cherokee County

Appeal No. 18-10-0001A, including the rescission and refusal to reissue Plaintiff’s

Tenant Occupancy Permit, and any other laws and regulations that prohibit or restrict

Plaintiff’s proposed use, as well as any subsequent action to impose any zoning or

other restrictions that restrict the use of the Property to a less intense or less dense

use that than those allowed by applicable law (the “Intervening Zoning

Restrictions”), violate Plaintiff’s right to equal protection under Article I, Section I,

Paragraph II of the Constitution of the State of Georgia of 1983, as amended, and

the same are therefore void.




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      156. Plaintiff is entitled to a declaration from this Court that the actions of

the Defendants in denying the Plaintiff’s vested right to its use of the Property to

house men recovering from drug and alcohol addiction and in denying Cherokee

County Appeal No. 18-10-0001A, including the rescission and refusal to reissue

Plaintiff’s Tenant Occupancy Permit, substantially destroys Petitioner’s valuable

property rights without prior payment of just compensation as required under Art. I,

Sec. III, Para. I of the Constitution of the State of Georgia of 1983, as amended, and

O.C.G.A. § 22-1-5 et seq.

                        COUNT IX – INJUNCTION
      (Against Natural Person Defendants in their Individual Capacities)
                          (O.C.G.A. § 9-5-1, et seq.)

      157. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.

      158. The actions of the Defendants in denying the Plaintiff’s right to its use

of the Property to house men recovering from drug and alcohol addiction and in

denying Cherokee County Appeal No. 18-10-0001A, including the rescission and

refusal to reissue Plaintiff’s Tenant Occupancy Permit, were exercised outside the

scope of their respective constitutional authority.




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      159. Plaintiff has and will continue to suffer irreparable harm as long as the

decision regarding Cherokee County Appeal No. 18-10-0001A, including the

rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit, and any other

laws and regulations that prohibit or restrict Plaintiff’s use, continue to encumber

the Property. Plaintiff will also suffer irreparable harm if Defendants impose any

Intervening Zoning Restrictions on the Property.

      160. Plaintiff’s legal remedies are inadequate.

      161. Plaintiff is entitled to an injunction prohibiting Defendants from

prospectively enforcing the current land use restrictions burdening the Property and

from imposing any Intervening Zoning Restrictions on the Property. Plaintiff is

further entitled to an injunction prohibiting Defendants from enforcing Cherokee

County Appeal No. 18-10-0001A, including the rescission and refusal to reissue

Plaintiff’s Tenant Occupancy Permit.

                COUNT X - ATTORNEY’S FEES AND DAMAGES
                 (Applicable Federal law and O.C.G.A. § 13-6-11)

      162. Paragraphs 1 through 111 are incorporated by reference as if set forth

fully herein.




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      163. The actions of the Defendants in denying the Plaintiff’s right to its use

of the Property to house men recovering from drug and alcohol addiction and in

denying Cherokee County Appeal No. 18-10-0001A, including the rescission and

refusal to reissue Plaintiff’s Tenant Occupancy Permit, were exercised outside the

scope of their respective constitutional authority.

      164. Defendants, both individually and in their official capacities, have been,

and are being, stubbornly litigious, have acted in bad faith, and have caused Plaintiff

unnecessary trouble and expense as contemplated by O.C.G.A. § 13-6-11, thereby

authorizing Plaintiff’s recovery of attorney’s fees and expenses of litigation.

      165. Plaintiff is therefore entitled by O.C.G.A. § 13-6-11 to an award of its

reasonable attorney’s fees and expenses incurred in bringing this action.

      166. Plaintiff also is entitled to recover damages, attorney fees and costs as

provided by federal statute.

                               REQUEST FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court grant the

following relief:

      (a)    A declaration that the Defendants’ practice and policy of revoking

Plaintiff’s zoning approval and Tenant Occupancy Change permit is discriminatory,




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illegal and unconstitutional as violating the United States Constitution, the Fair

Housing Act, the Americans With Disabilities Act, and the Religious Land Use and

Institutionalized Persons Act of 2000;

          (b)   A declaration that the Defendants’ actions in denying the Plaintiff

reasonable accommodations is illegal and unconstitutional as violating the Fair

Housing Act, Americans With Disabilities Act, and the United States Constitution;

          (c)   The Court grant permanent injunctive relief preventing Defendants

from illegally and unconstitutionally applying the County’s laws, practices and

policies to Plaintiff’s use of the Property, including, but not limited to, enjoining

Defendants from applying its laws, practices and policies in a manner that

substantially burdens Plaintiff’s religious exercise, or from applying those laws,

practices and policies in a discriminatory manner, and otherwise enjoining

Defendants from preventing Plaintiff’s exercise of constitutional and statutory

rights;

          (d)   That the Court reverse the denial of Cherokee County Appeal No. 18-

10-0001A, including the rescission and refusal to reissue Plaintiff’s Tenant

Occupancy Permit;




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      (e)    That the Court find that the Defendants’ actions in connection with the

interpretation, application and enforcement of the Cherokee County Zoning

Ordinance and the refusal to approve Cherokee County Appeal No. 18-10-0001A,

including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit,

were unlawful, arbitrary and capricious, irrational, a manifest abuse of discretion,

unconstitutional, null and void;

      (f)    That the Court issue a writ of mandamus directing the Defendants to

recognize the Plaintiff’s use of the Property as a legal use and reissue Plaintiff’s

Tenant Occupancy Permit;

      (g)    That the Court declare the Plaintiff’s use of the Property is allowed and

protected as a legal conforming or nonconforming use, that the Plaintiff has a vested

right in such use, and that Cherokee County is barred by the doctrine of estoppel

from prohibiting such use;

      (h)    That the Court declare the actions of the Defendants in denying

Plaintiff’s use of the Property and Cherokee County Appeal No. 18-10-0001A,

including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit,

are invalid and unreasonable in light of the facts and circumstances of this case, are

unlawful, arbitrary and capricious, constitute a manifest abuse of discretion, lack any




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rational basis and violate Plaintiff’s right to due process under Article I, Section I,

Paragraph I of the Constitution of the State of Georgia of 1983, as amended, and the

same are therefore void;

      (i)    That the Court declare that the actions of the Defendants in denying

Plaintiff’s use of the Property and Cherokee County Appeal No. 18-10-0001A,

including the rescission and refusal to reissue Plaintiff’s Tenant Occupancy Permit,

violate Plaintiff’s right to equal protection under Article I, Section I, Paragraph II of

the Constitution of the State of Georgia of 1983, as amended, and the same are

therefore void;

      (j)    That the Court enjoin Defendants from enforcing Cherokee County

Appeal No. 18-10-0001A, including the rescission and refusal to reissue Plaintiff’s

Tenant Occupancy Permit, from imposing any Intervening Zoning Restrictions on

the Property;

      (k)    That this Court enter a declaratory judgment and/or an injunction

pursuant to 42 U.S.C. § 1983.

      (l)    That Plaintiff have and recover compensatory damages in the amount

of $300,000.00; together with any special damages arising out of the Defendants’

conduct as described in the Complaint;




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      (m)      That Plaintiff have and recover nominal damages;

      (n)      That Plaintiff have and recover attorney fees and costs as provided by

federal statute;

      (o)      That this Court award Plaintiff its expenses of litigation, including

reasonable attorney’s fees, pursuant to O.C.G.A. § 13-6-11

      (p)      Such other and further relief as this Court may deem just and

appropriate.

                               DEMAND FOR JURY

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

hereby demands trial by jury in this action of all issues so triable.



Respectfully submitted,

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ATTORNEYS FOR PLAINTIFF




*Admitted Pro Hac Vice




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                          CERTIFICATE OF SERVICE


      I hereby certify that on October 11, 2019, I caused the foregoing document to

be filed with the United States District Court for the Northern District of Georgia via

the Court’s CM/ECF system.




                                        Abigail A. Southerland
                                        Abigail A. Southerland




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